 Case 3:11-cv-03029-PKH Document 6    Filed 05/03/11 Page 1 of 3 PageID #: 21



                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                             HARRISON DIVISION

DAVID STEBBINS                                                     PLAINTIFF

v.                        Case No. 3:11-CV-03029

HARP & ASSOCIATES REAL ESTATE
SERVICES                                                           DEFENDANT


                                O R D E R

     On this 3rd day of May 2011, there comes on for consideration

the Report and Recommendations (Doc. 4) filed in this case on April

15, 2011, by the Honorable James R. Marschewski, United States

Magistrate for the Western District of Arkansas.           Also before the

Court are Plaintiff’s objections (Doc. 5).

     The   court    has   reviewed   this   case   and,   being    well    and

sufficiently advised, finds as follows: Plaintiff’s objections

offer neither law nor fact requiring departure from the Report and

Recommendation. Plaintiff Stebbins objects to the recommendation

that his Complaint be dismissed for lack of jurisdiction. Stebbins

does not challenge the conclusion that the Court lacks diversity

jurisdiction. Instead, Stebbins argues that this Court has federal

question jurisdiction under the Federal Arbitration Act, 9 U.S.C.

§ 2, (“FAA”). However, as the report and recommendation correctly

points out, the FAA “does not itself bestow jurisdiction; [i]nstead

there must be an independent jurisdictional base.” (Doc. 4 at page

2)(citing Hall St. Assocs, LLC v. Mattel, Inc., 552 U.S. 576

(2008)). Under the FAA, a federal district court has jurisdiction
 Case 3:11-cv-03029-PKH Document 6    Filed 05/03/11 Page 2 of 3 PageID #: 22



to order arbitration in cases in which, save for the arbitration

agreement, it would otherwise have jurisdiction over the underlying

dispute. 9 U.S.C. § 4.

     First, Stebbins does not appear to be seeking enforcement of

an arbitration clause under the FAA. Instead, his claims, though it

is somewhat hard to discern their exact nature, seem to arise out

of breach of contract. The fact that the contract may have included

some modified agreement to arbitrate does not, in and of itself,

invoke this Court’s jurisdiction. Second, Stebbins has alleged no

facts upon which this Court could establish jurisdiction over the

underlying dispute, such that it could exercise jurisdiction over

any claims brought under the FAA. Specifically, the parties are not

diverse, and Stebbins has failed to allege damages sufficient to

meet the threshold requirement for amount in controversy. The Court

cannot and does not have federal question jurisdiction based on the

FAA alone. The cases Stebbins cites in support of his argument are

both Arkansas   state     court   cases   and,   therefore,    can    have    no

relevance to this federal Court’s consideration of whether it can

properly exercise its more limited jurisdiction. If anything, those

cases may show that the proper forum for such disputes is, in fact,

in state court. No other basis for jurisdiction in this Court

exists. Therefore, the Report and Recommendation is proper and

should be and hereby is ADOPTED IN ITS ENTIRETY.

     Accordingly,   for    the    reasons   stated    herein    and   in     the

Magistrate Judge’s Report and Recommendation, Plaintiff’s Complaint
 Case 3:11-cv-03029-PKH Document 6   Filed 05/03/11 Page 3 of 3 PageID #: 23



is DISMISSED WITH PREJUDICE.

     Any and all pending motions are hereby DENIED AS MOOT.

     IT IS SO ORDERED this 3rd day of May 2011.



                                       /s/ Paul K. Holmes, III
                                       Paul K. Holmes, III
                                       United States District Judge
